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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA


BENJAMIN WATSON, JR.; SHEILA
WILEMON WATSON; SHANE
WALTERS; AMANDA WALTERS;
DUSTIN WALTERS; MASON
WALTERS; SAMEH HAITHAM;
EVELYN BRADY; SHADIN
HAITHAM; JOHN ROBERT BRADY;
IRVIN LAWRENCE JR.; GEORGE
JOHNSON; BREANNA THOMAS;
RYAN BLACKWELL; CARLY                       ORAL ARGUMENT
BLACKWELL; KRISTY LEHMER;                   REQUESTED
JESSICA PICKETT; CURTIS PICKETT;
CHARLES HOGUE; MATTHEW                      Case No. 3:21-cv-329
TINCH; JESSICA TINCH; JONATHAN
GLASS; JOY GLASS; MATTHEW
HOUSAM; MICHAEL HOYLAND;
THOMAS C. BORTNER; GRANT
LOPEZ; HEATHER LOPEZ;
MATTHEW KEEBLER; and
KRYSTENA KEEBLER,

                      Plaintiffs,

        v.

KINGDOM OF SAUDI ARABIA,

                      Defendant.


             MOTION OF THE KINGDOM OF SAUDI ARABIA
               TO DISMISS THE AMENDED COMPLAINT
              AND MEMORANDUM OF LAW IN SUPPORT
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              MOTION OF THE KINGDOM OF SAUDI ARABIA
                TO DISMISS THE AMENDED COMPLAINT

      Under Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), and 12(b)(6),

Defendant Kingdom of Saudi Arabia (“Saudi Arabia”) respectfully moves this

Court for an order dismissing all claims in the Amended Complaint for lack of

subject-matter jurisdiction under the Foreign Sovereign Immunities Act of 1976,

lack of personal jurisdiction, and failure to state a claim upon which relief can

be granted.

      In support of its motion, Saudi Arabia sets forth its arguments in the

accompanying memorandum of law.




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                                INTRODUCTION

      Mohammed Saeed Al Shamrani’s terrorist attack at Naval Air Station

Pensacola was a rogue act. Before the attack, Al Shamrani pledged allegiance to

Al Qaeda, an enemy of both the United States and the Kingdom of Saudi Arabia

(“Saudi Arabia”). An extensive FBI investigation found “no evidence of

assistance or pre-knowledge of the attack by other members of the Saudi military.”

      Saudi Arabia deplores the Pensacola attack and expresses its deep

condolences to the victims and their families. But there is no legal basis for this

Court to exercise subject-matter or personal jurisdiction over Plaintiffs’ claims

against Saudi Arabia arising from that attack. Saudi Arabia is a foreign sovereign

presumptively immune from suit under the Foreign Sovereign Immunities Act of

1976 (“FSIA”). Plaintiffs rely on four exceptions to immunity but have not

pleaded and cannot prove facts to support any of those exceptions.

      First, the non-commercial-tort exception does not apply for multiple

reasons. That exception requires a loss “caused by” a “tortious act” of a foreign

state’s official or employee “acting within the scope of his office or employment.”

28 U.S.C. § 1605(a)(5). As the FBI has confirmed, Al Shamrani’s attack was

conducted in furtherance of his pledged allegiance to Al Qaeda – a sworn enemy

of Saudi Arabia. It was outside the scope of his employment as a member of the

Royal Saudi Air Force (“RSAF”).



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      Moreover, the entire tort – all parts of the act and the injury – must occur in

the United States. Allegations that Saudi Arabia failed to prevent the attack by

negligently hiring or supervising Al Shamrani cannot meet that requirement

because nearly all of Saudi Arabia’s alleged conduct was outside the United States.

      The limited allegations that describe an omission within the United States

(that a supervisor was absent for three months) concern a “discretionary function,”

id. § 1605(a)(5)(A), for which Saudi Arabia retains immunity. Nor is it either

plausible or provable that the supervisor’s absence caused the attack.

      Finally, Plaintiffs’ baseless allegations that Saudi Arabia materially aided

Al Qaeda are conclusory, unsupported, and lack any causal link to the attack.

      Second, the exception for terrorist acts created by the Justice Against

Sponsors of Terrorism Act, Pub. L. No. 114-222, 130 Stat. 852 (2016) (“JASTA”),

does not apply. JASTA, like the non-commercial-tort exception, requires an act

within the scope of employment, which Al Shamrani’s attack was not. JASTA

also forecloses Plaintiffs’ theories that Saudi Arabia negligently hired or failed to

supervise Al Shamrani. “[A]cts that constitute mere negligence” cannot create

jurisdiction, nor can any “omission.” 28 U.S.C. § 1605B(d). Plaintiffs’ baseless

allegations that Saudi Arabia materially aided Al Qaeda fail under JASTA for

the same reasons that they fail under the non-commercial-tort exception.




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      Third, the commercial-activities exception, 28 U.S.C. § 1605(a)(2), does

not apply. The military training program that brought Al Shamrani to the United

States was not commercial activity. Nor was there anything commercial about

his rogue attack in furtherance of his pledged loyalty to Al Qaeda.

      Fourth, and finally, Saudi Arabia has not waived its sovereign immunity.

Such waivers must be clear and unambiguous. None occurred here.

                                 BACKGROUND

I.    The Pensacola Shooting

      Al Shamrani joined the RSAF in 2015 and was later nominated to receive

military training in the United States. Am. Compl. ¶¶ 134, 139. Through the

Security Cooperation Education and Training Program, the United States provides

military supplies and training to eligible foreign nations such as Saudi Arabia. Id.

¶ 44; Ex. A (U.S. Navy, Command Investigation Report – Fatal Shooting Incident

at Naval Air Station Pensacola, Florida on 6 December 2019, at 25 (Feb. 21, 2020)

(“Navy Report”)).1 Al Shamrani trained as a weapon systems officer at Naval Air

Station Pensacola (“NAS Pensacola”). Am. Compl. ¶ 56; Navy Report 25.


      1
        Citations to Exhibits in this Memorandum refer to the Exhibits to the
accompanying Declaration of Gregory G. Rapawy. This Court may consider the
Navy Report because the Amended Complaint relies upon it (at ¶ 173 n.33). See
Luke v. Gulley, 975 F.3d 1140, 1144 (11th Cir. 2020). The Navy Report is also
admissible evidence that may be considered on a Rule 12(b)(1) factual challenge,
see infra pp. 10-11, because it “sets out . . . factual findings from a legally
authorized investigation.” Fed. R. Evid. 803(8)(A)(3).

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      In August 2017, Al Shamrani entered the United States. Am. Compl. ¶¶ 67-

68; Navy Report 35. Plaintiffs allege that, before his entry, Saudi Arabia subjected

him to security, medical, and internal character vetting. Am. Compl. ¶ 64; see also

id. ¶¶ 135, 143. Plaintiffs allege that Saudi Arabia could have monitored his social

media and mobile communications, id. ¶¶ 107-125, and that his social media

accounts would have showed radicalization and anti-American sentiments, id.

¶¶ 131-132, 138.

      From August 2017 to May 2018, Al Shamrani received English training at

Lackland Air Force Base in San Antonio, Texas. Id. ¶¶ 68, 148-149; Navy Report

27-28, 35. In May 2018, he moved to NAS Pensacola. Am. Compl. ¶¶ 149-150;

Navy Report 35-40.

      On December 6, 2019, Al Shamrani posted an anti-American message on

his Twitter account threatening violence, then attacked members of the U.S.

military. Am. Compl. ¶¶ 187-188; Navy Report 40-43. He killed three U.S.

servicemembers and injured eight others. Navy Report 5. Law enforcement killed

him on the scene. Am. Compl. ¶ 212.

      Saudi Arabia immediately denounced Al Shamrani’s attack. King Salman

bin Abdulaziz Al Saud called President Donald J. Trump on the day of the attack

to “affirm[] that the perpetrator of this heinous crime does not represent the Saudi




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people, who count the American people as friends and allies,” and “directed Saudi

security services to cooperate” with the United States’ investigation.2

II.    The United States’ Investigations

       A.    On January 13, 2020, Attorney General William Barr announced

findings from the FBI’s investigation of the Pensacola shooting.3 The “one goal”

of this investigation was to determine if Al Shamrani “acted alone, or if anyone

helped him.”4 The “investigation involved hundreds of special agents from the

FBI, intelligence analysts, and professional experts,” interviews of “more than 500

witnesses, base personnel, and the shooter’s friends, classmates and associates,”

“dozens of surveillance teams,” and “numerous search warrants, subpoenas, court

orders, and emergency disclosure requests.” January 13, 2020 Press Conference at

10:20-11:25. Saudi Arabia “gave complete and total support” to the investigation,

including “order[ing] all Saudi trainees to fully cooperate.” January 13, 2020




       2
       Embassy of Saudi Arabia, In Phone Call with U.S. President, Saudi King
Condemns Florida Shooting (Dec. 6, 2019), https://www.saudiembassy.net/news/
phone-call-us-president-saudi-king-condemns-florida-shooting.
       3
        See Ex. B (U.S. Dep’t of Justice, Attorney General William P. Barr
Announces the Findings of the Criminal Investigation into the December 2019
Shooting at Pensacola Naval Air Station (Jan. 13, 2020) (“January 13, 2020
Investigative Findings”)).
       4
         Attorney General Barr and FBI Deputy Director Bowdich Hold Press
Conference at 10:11-20 (Jan. 13, 2020) (“January 13, 2020 Press Conference”),
https://www.youtube.com/watch?v=sXI5qUsPjEY.

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Investigative Findings. The FBI acknowledged Saudi Arabia’s “assistance” as

“critical.” Id.5

       The FBI found “no evidence of assistance or pre-knowledge of the attack by

other members of the Saudi military (or any other foreign nationals) who [we]re

training in the United States.” Id. Although “[e]arly reports indicated that the

shooter arrived at the site[] accompanied by other Saudi cadets, who took video of

the attack as it unfolded,” the FBI found that was “not . . . accurate.” Id. Rather,

“[o]ther Saudi cadets happened to be in the area and, after the attack began, they

took some videos of the resulting commotion.” Id. The FBI also “extensively

vet[ted]” a trip that Al Shamrani took to New York in November 2019 and found

the trip was not “an unusual activity” and was consistent with Saudi students’

practice of traveling in the United States. January 13, 2020 Press Conference at

17:45-18:00; see also Navy Report 53 (“Visiting major U.S. cities is a normal

practice for visiting foreign military personnel.”).6




       5
        This Court may consider the results of the FBI’s investigation because the
Amended Complaint relies (at, e.g., ¶¶ 320-321, 324, 327, 341-344) upon the FBI’s
findings and because those findings are admissible under Federal Rule of Evidence
803(8)(A)(3). See supra note 1.
       6
        According to the Attorney General, the FBI found that 17 Saudi military
students in the United States had social media containing “some jihadi or anti-
American content.” January 13, 2020 Investigative Findings. The Attorney
General did not indicate that those students agreed with or sponsored that content.
The FBI found the content did not warrant prosecution. See id.

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       The FBI released additional findings on May 18, 2020, after unlocking an

iPhone used by Al Shamrani.7 The phone contents showed that Al Shamrani had

“significant ties” to Al Qaeda and communicated with Al Qaeda “using end-to-end

encrypted apps, with warrant-proof encryption, deliberately in order to evade law

enforcement.” May 18, 2020 Investigative Update. The FBI did not state that any

additional evidence on Al Shamrani’s phone indicated assistance or pre-knowledge

of the attack by Saudi Arabia or other Saudi military trainees.

       B.     On February 21, 2020, the United States Navy issued the Navy

Report. On July 7, 2020, the Chief of Naval Operations adopted it. The Navy

Report found that the attack’s “primary cause” was Al Shamrani’s “self-

radicalization.” Navy Report 7. It found that, before entering the United States,

Al Shamrani had passed human rights, security, and medical screening conducted

by the United States, see id. at 135-36, looking for evidence of “support” of

“terrorist activity.”8 Despite “isolated events and indicators” of Al Shamrani’s


       7
        See Ex. C (U.S. Dep’t of Justice, Attorney General William P. Barr and
FBI Director Christopher Wray Announce Significant Developments in the
Investigation of the Naval Air Station Pensacola Shooting (May 18, 2020) (“May
18, 2020 Investigative Update”)).
       8
        Ex. D (Defense Security Cooperation Agency, Security Assistance
Management Manual (“Security Manual”) C10.8.1 (requiring screening by the
United States), C10.8.3 (requiring security training to be conducted in Saudi
Arabia “by in-country [U.S. officials] . . . for evidence of . . . terrorist activity or
support . . . or other U.S.-designated illegal or objectionable activities”)). This
Court may consider the Security Manual because the Amended Complaint relies
(at ¶ 171) on it. See supra note 1.

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“potential threat,” “no one person or organization knew or could have known”

Al Shamrani “would attack active duty service members and civilians.” Id. at 7.

Al Shamrani’s “path to radicalization was not recognized and interrupted” in part

because “his record contained neither disciplinary nor significant performance

issues.” Id.

III.    Plaintiffs’ Complaint

        Plaintiffs are the victims of the Pensacola shooting or their survivors. On

February 22, 2021, they filed suit against Saudi Arabia. On May 11, 2021, they

filed an amended complaint. On January 18, 2022, Plaintiffs completed service

under 28 U.S.C. § 1608(a)(4). See ECF Nos. 23, 23-1.

        Plaintiffs advance three theories of liability. First, Plaintiffs contend Saudi

Arabia is vicariously liable for Al Shamrani’s attack because the attack was within

Al Shamrani’s scope of employment. E.g., Am. Compl. ¶¶ 345-362. Second,

Plaintiffs claim Saudi Arabia is liable for failing to prevent the Pensacola attack

because it inadequately screened and supervised Al Shamrani. E.g., id. ¶¶ 135-

186, 502-525. Third, Plaintiffs assert Saudi Arabia is liable because it supposedly

provided material support to Al Qaeda. E.g., id. ¶¶ 78-106.




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                            STANDARD OF REVIEW

      The FSIA declares “a foreign state . . . immune from the jurisdiction of the

courts of the United States . . . except as provided” by certain exceptions.

28 U.S.C. § 1604. That statutory framework is “the sole basis for obtaining

jurisdiction over a foreign state in the courts of” the United States. Argentine

Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 443 (1989). It renders

Saudi Arabia “presumptively immune from the jurisdiction of United States

courts.” Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993). Unless an exception

is shown, the FSIA bars both subject-matter and personal jurisdiction over a

foreign state. See id.; Amerada Hess, 488 U.S. at 435 n.3.9

      In moving to dismiss under Federal Rule of Civil Procedure 12(b)(1), Saudi

Arabia “may challenge either the legal or factual sufficiency of the plaintiff’s

assertion of jurisdiction, or both.” Robinson v. Government of Malaysia, 269 F.3d

133, 140 (2d Cir. 2001); see Butler, 579 F.3d at 1313 (legal challenge); Odyssey

Marine Expl., Inc. v. Unidentified Shipwrecked Vessel, 657 F.3d 1159, 1169

(11th Cir. 2011) (“factual attack”). Saudi Arabia raises both challenges here.




      9
         The Amended Complaint concedes (at ¶ 39) that Saudi Arabia is a foreign
state entitled to sovereign immunity. See Butler v. Sukhoi Co., 579 F.3d 1307,
1313 n.8 (11th Cir. 2009) (defendant’s “initial burden” of showing it is a foreign
state is satisfied where that fact is uncontested); see also Nelson, 507 U.S. at 356.

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      To resolve a legal challenge, this Court applies the familiar Rule 12(b)(6)

standard, taking as true well-pleaded factual allegations, but disregarding

“conclusory allegations or legal conclusions masquerading as factual conclusions.”

Butler, 579 F.3d at 1313-14; see Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009).

      To resolve a factual challenge, Plaintiffs must “produc[e] evidence that the

conduct which forms the basis of [the] complaint falls within one of the statutorily

defined exceptions.” Butler, 579 F.3d at 1312-13 (internal quotations omitted;

first alteration added).

      Determining whether this burden is met involves a review of the
      allegations in the complaint, the undisputed facts, if any, placed
      before the court by the parties, and – if the plaintiff comes forward
      with sufficient evidence to carry its burden of production on this issue
      – resolution of disputed issues of fact.

In re Terrorist Attacks on September 11, 2001, 538 F.3d 71, 80 (2d Cir. 2008)

(cleaned up), abrogated on other grounds by Samantar v. Yousuf, 560 U.S. 305

(2010); see Butler, 579 F.3d at 1313. Only if Plaintiffs “carr[y]” that “burden of

production” does the Court “resolve disputed issues of fact, with the . . . foreign

sovereign shouldering the burden of persuasion.” Robinson, 269 F.3d at 141.




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                                   ARGUMENT

      Plaintiffs rely on four statutory exceptions to foreign sovereign immunity:

(1) the non-commercial-tort exception, see 28 U.S.C. § 1605(a)(5); (2) the JASTA

terrorist-act exception, see id. § 1605B; (3) the commercial-activity exception, see

id. § 1605(a)(2); and (4) waiver of foreign sovereign immunity, see id. § 1605(a)(1).

Am. Compl. ¶ 18. As to each exception, Plaintiffs can neither plead nor prove a

basis for this Court to exercise jurisdiction over Saudi Arabia.

I.    The Non-Commercial-Tort Exception Does Not Apply

      Section 1605(a)(5), the non-commercial-tort exception, includes claims

“for personal injury or death . . . occurring in the United States and caused by

the tortious act or omission of [a] foreign state or of any official or employee

of that foreign state while acting within the scope of his office or employment.”

28 U.S.C. § 1605(a)(5). It excludes “any claim based upon the exercise or

performance or the failure to exercise or perform a discretionary function

regardless of whether the discretion be abused.” Id. § 1605(a)(5)(A).

      A.     The Attack Was Not Within The Scope Of Al Shamrani’s
             Employment

      Al Shamrani did not commit the attack “while acting within the scope of

his office or employment.” 28 U.S.C. § 1605(a)(5). Scope of employment is

determined by the law of the place where injury occurred. See Swarna v. Al-Awadi,




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622 F.3d 123, 144 (2d Cir. 2010).10 Here, that place is Florida. Under Florida law,

an employee’s conduct is within the scope of employment only if the conduct:

(1) was “the kind . . . which the employee was employed to perform,” (2) “occurred

within the time and space limits of his employment,” and (3) was “activated at

least in part by a purpose to serve the employment.” Spencer v. Assurance Co.

of Am., 39 F.3d 1146, 1150 (11th Cir. 1994).

      Tortious acts “undertaken for reasons that are purely personal to an

employee” fall outside the scope of employment. Id. Intentional criminal acts

almost always fall outside the scope of employment because employees are not

(with rare exception) employed to commit crimes. See, e.g., id. (battery); City of

Green Cove Springs v. Donaldson, 348 F.2d 197, 202-03 (5th Cir. 1965) (rape).

Many Florida cases apply this rule.11



      10
        Accord O’Bryan v. Holy See, 556 F.3d 361, 381 (6th Cir. 2009); Moran v.
Kingdom of Saudi Arabia, 27 F.3d 169, 173 (5th Cir. 1994); Liu v. Republic of
China, 892 F.2d 1419, 1425-26 (9th Cir. 1989).
      11
         See, e.g., Mallory v. O’Neil, 69 So. 2d 313, 314-15 (Fla. 1954) (shooting);
Goss v. Human Servs. Assocs., Inc., 79 So. 3d 127, 132 (Fla. Dist. Ct. App. 2012)
(sexual assault); Special Olympics Florida, Inc. v. Showalter, 6 So. 3d 662, 665-66
(Fla. Dist. Ct. App. 2009) (per curiam) (molestation); Elders v. United Methodist
Church, 793 So. 2d 1038, 1041 (Fla. Dist. Ct. App. 2001) (sexual misconduct);
Agriturf Mgmt., Inc. v. Roe, 656 So. 2d 954, 955 (Fla. Dist. Ct. App. 1995) (sexual
abuse); Perez v. Zazo, 498 So. 2d 463, 465 (Fla. Dist. Ct. App. 1986) (stabbing);
DeJesus v. Jefferson Stores, Inc., 383 So. 2d 274, 274 (Fla. Dist. Ct. App. 1980)
(assault); Martin v. United Sec. Servs., Inc., 373 So. 2d 720, 721 (Fla. Dist. Ct.
App. 1979) (per curiam) (murder); Jones v. City of Hialeah, 368 So. 2d 398,
400-01 (Fla. Dist. Ct. App. 1979) (shooting); Nettles v. Thornton, 198 So. 2d 44,

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      Plaintiffs cannot show that Al Shamrani’s attack on U.S. service members

“serve[d] [his] employment,” Spencer, 39 F.3d at 1150, in the RSAF. As Plaintiffs

acknowledge, Al Qaeda claims responsibility for Al Shamrani’s attack. Am.

Compl. ¶ 96. As the FBI further found, “Al Shamrani . . . radicalized not, after

training here in the United States, but at least as far back as 2015,” and later joined

“the [Royal] Saudi Air Force Academy in order to carry out what he called a

special operation.”12

      Plaintiffs assert (at ¶¶ 348-350, 357-360) that Al Shamrani was able to

commit his attack because Saudi Arabia provided Al Shamrani with employment,

weapons training, a rank, and a uniform. Whether Al Shamrani’s attack was

possible because of his employment is separate from whether the attack was within

the scope of his employment. Florida courts have rejected the theory on which

Plaintiffs rely. See Keen v. Florida Sheriffs’ Self-Insurance Fund, 962 So. 2d

1021, 1024 (Fla. Dist. Ct. App. 2007) (crime outside scope of employment despite




45 (Fla. Dist. Ct. App. 1967) (assault); Doe v. Cramer, 2018 WL 8265221, at *3-4
(S.D. Fla. Aug. 10, 2018) (false imprisonment, sexual assault); Doe v. United
States, 2017 WL 5068883, at *2 (M.D. Fla. Nov. 3, 2017) (rape).
      12
         Attorney General Barr, FBI Director Wray Announce Developments in
the Investigation of the NAS Pensacola Shooting at 5:25-6:00 (May 18, 2020),
https://www.youtube.com/watch?v=nfqff_NsYiI.

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officer “illegally us[ing] his position as a pretense to place [the victim] in a position

where he could sexually assault her”).13

      Indeed, Al Shamrani’s murder of American servicemembers was not merely

outside the scope of his employment; it betrayed his own country. Although

Plaintiffs claim (at ¶ 351) that the attack furthered “the policy and ideology of the

Kingdom of Saudi Arabia,” that conclusory assertion is not entitled to an

assumption of truth. See Iqbal, 556 U.S. at 679. It also makes no sense alongside

Plaintiffs’ own allegations (at ¶¶ 40-43) that Saudi Arabia is the largest participant

in the United States’ foreign military sales and training programs. Al Shamrani’s

crime threatened to harm that longstanding, vital security relationship. He served

Al Qaeda’s interests, not Saudi Arabia’s.




      13
         See also Iglesia Cristiana La Casa Del Senor, Inc. v. L.M., 783 So. 2d
353, 358 (Fla. Dist. Ct. App. 2001) (sexual assault by pastor who “had access
to [a minor] because of his position as the Church pastor”); Mason v. Florida
Sheriffs’ Self-Insurance Fund, 699 So. 2d 268, 270 (Fla. Dist. Ct. App. 1997)
(sexual battery by officer while “on duty, in uniform,” and “serving a warrant”);
Tallahassee Furniture Co. v. Harrison, 583 So. 2d 744, 758 (Fla. Dist. Ct. App.
1991) (assault enabled by “job-related contact”); Hammer v. Lee Mem’l Health
Sys., 2018 WL 3707832, at *4 (M.D. Fla. Aug. 3, 2018) (perpetrator “was able to
sexually assault Plaintiff because of his position as her nurse”); S.D. v. City of
Cape Coral, 2017 WL 5906281, at *2 (M.D. Fla. Nov. 30, 2017) (assault occurred
“during [the officer’s] shift, in the police car, and while [he] was in uniform,
utilizing his position as a Cape Coral police officer to intimidate and coerce
plaintiff”); Hemmings v. Jenne, 2010 WL 4005333, at *4 (S.D. Fla. Oct. 12, 2010)
(similar); Andersen v. United States, 2009 WL 6633307, at *6 (S.D. Fla. Oct. 21,
2009) (similar).

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      B.     Saudi Arabia’s Alleged Failure To Prevent Al Shamrani’s Attack
             Does Not Satisfy The Non-Commercial-Tort Exception

      Plaintiffs’ theory that Saudi Arabia failed to prevent Al Shamrani’s attack by

inadequately screening or supervising him also cannot support jurisdiction under

the non-commercial-tort exception. That theory seeks relief for alleged acts or

omissions outside the United States; for the performance, or failure to perform,

discretionary functions; and for acts or omissions that did not cause the attack.

             1.    Alleged Acts Or Omissions Occurring Outside The United
                   States Cannot Support Jurisdiction

      For the non-commercial-tort exception to apply, “the ‘entire tort’ must be

committed in the United States.” In re Terrorist Attacks on September 11, 2001,

714 F.3d 109, 115 (2d Cir. 2013); see also Amerada Hess, 488 U.S. at 441. Both

the “tortious act” allegedly committed by the foreign sovereign and the “injuries

and damages” flowing from that act must occur within the United States. Terrorist

Attacks, 714 F.3d at 116; accord O’Bryan, 556 F.3d at 382; Asociacion de

Reclamantes v. United Mexican States, 735 F.2d 1517, 1525 (D.C. Cir. 1984).

      Plaintiffs’ failure-to-screen and failure-to-supervise theories rely almost

entirely on acts or omissions in Saudi Arabia, not in the United States. They allege

Saudi Arabia “knew” or “should have known” Al Shamrani had been radicalized

“[p]rior to joining the RSAF” by screening him before he entered the United

States, e.g., Am. Compl. ¶¶ 135, 143, 512(i)-(viii) (emphasis added); that Saudi



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Arabia should have surveilled Al Shamrani’s phone and social media, e.g., id.

¶¶ 107-125; and that Saudi Arabia did not “properly screen” Al Shamrani “before

nominating [him] for training in the United States,” e.g., id. ¶ 507 (emphasis added).

See also, e.g., id. ¶¶ 513(i)-(ix), (xxiii), 514, 518. “[A]ny portion of plaintiffs’

claims that relies upon acts committed . . . abroad cannot survive.” O’Bryan,

556 F.3d at 385; see id. (rejecting such claims for “negligent supervision”).

      Plaintiffs’ limited allegations about acts or omissions in the United States

cannot stand alone. Plaintiffs assert that Saudi Arabia’s country liaison officer

(“CLO” or “liaison officer”) – an individual who “help[s] administer IMS,” that

is, international military students – for the RSAF went on leave in June 2019,

periodically returned in August and September, and was absent from NAS

Pensacola during the period from September 21, 2019, until after the attack on

December 7, 2019. Am. Compl. ¶¶ 169, 177-182. Plaintiffs assert that this

absence purportedly put “‘good order and discipline . . . at risk,’” id. ¶ 173

(quoting Navy Report 226), and “‘created a marked decline in the military bearing’

of RSAF students,” id. ¶ 184 (quoting Navy Report 11). As set out below, the

liaison-officer allegations do not support jurisdiction under the non-commercial-

tort exception because they involve discretionary functions and because Plaintiffs

can neither plead nor prove that they “caused” Plaintiffs’ injuries.




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             2.    Alleged Acts or Omissions Involving Discretionary
                   Functions Cannot Support Jurisdiction

      Plaintiffs claim that Saudi Arabia “fail[ed] to implement and/or execute

security screening protocols and oversight of its RSAF candidates for training in

the United States.” Am. Compl. ¶ 390; see, e.g., id. ¶¶ 507 (duty to “properly

screen [and] monitor”), 509, 513-518. But the non-commercial-tort exception

excludes “any claim based upon the exercise or performance or the failure to

exercise or perform a discretionary function regardless of whether the discretion be

abused.” 28 U.S.C. § 1605(a)(5)(A); see United States v. Gaubert, 499 U.S. 315,

322-23 (1991); OSI, Inc. v. United States, 285 F.3d 947, 950-53 (11th Cir. 2002).

      Hiring and supervising a government employee is a discretionary function.

See Doe v. Holy See, 557 F.3d 1066, 1083-85 (9th Cir. 2009) (“[T]he tortious act

exception [under the FSIA] does not provide jurisdiction over Doe’s negligent

hiring, supervision, and failure to warn claims because they are barred by the

discretionary function exclusion.”); Robles v. Holy See, 2021 WL 5999337, at

*12-14 (S.D.N.Y. Dec. 20, 2021) (finding immunity under the FSIA and reasoning

that “[c]ase-law is clear that decisions related to employment and supervision are

exactly the kind of policy judgments that the discretionary exclusion was designed

to shield”); Travel Assocs., Inc. v. Kingdom of Swaziland, 1990 WL 134512, at *3

(D.D.C. Aug. 30, 1990) (“Plaintiff’s claim of negligent training and supervision of




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the former Swaziland ambassador . . . clearly involves the performance of

discretionary functions.”).

      Decisions applying the discretionary-exception provision in the Federal Tort

Claims Act (“FTCA”), 28 U.S.C. § 2680(a), are in accord.14 See Gaubert, 499

U.S. at 334 (“negligent selection of directors and officers”); Andrews v. United

States, 121 F.3d 1430, 1440-41 (11th Cir. 1997) (“decisions about how and how

much to supervise the safety procedures of independent contractors”); Burkhart

v. Washington Metro. Area Transit Auth., 112 F.3d 1207, 1217 (D.C. Cir. 1997)

(“hiring, training, and supervising of [transit] employees”).15

      The principle that hiring and supervision are discretionary applies fully to

military personnel. See, e.g., Mercado Del Valle v. United States, 856 F.2d 406,

407-09 (1st Cir. 1988) (supervision by Air Force of military student organization)

(Breyer, J.); Carlyle v. United States, 674 F.2d 554, 556-57 (6th Cir. 1982)

(“supervision of [Army] recruits”). And that principle has special force here

because Plaintiffs’ claims touch on the sensitive areas of security risks and

religious or ideological beliefs.




      14
         Cases on the FTCA’s discretionary-function exception are persuasive
authority as to the FSIA’s similar exception. See, e.g., Swarna, 622 F.3d at 145.
      15
        See also Guile v. United States, 422 F.3d 221, 230-31 (5th Cir. 2005)
(“negligent supervision” of psychiatrists); Gager v. United States, 149 F.3d 918,
921 (9th Cir. 1998) (“training and supervision in mail bomb detection”).

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      Harper v. United States, 2020 WL 4192540 (D.D.C. July 21, 2020), applied

the FTCA’s discretionary-function exception to similarly tragic facts. That case

arose from the mass shooting by former Army Major Nidal Hassan at Fort Hood in

2009. Id. at *1. Hassan, like Al Shamrani, was allegedly influenced by Al Qaeda’s

ideology when he killed 13 people and injured more than 30 others. Id. at *2.

Victims of the attack and surviving family members, like those here, alleged that

Hassan’s military employers “were aware of his extremist views” but failed to

“tak[e] precautions . . . or disciplin[e]” him. Id. The district court dismissed their

claims because the military’s “supervision and discipline decisions with respect to”

enlisted members “involve judgment and discretion.” Id. at *5. The same logic

has equal force here.

      Plaintiffs’ attempts (at ¶ 519) to avoid the discretionary-function exception

fall short. First, Plaintiffs assert generally that Saudi Arabia’s hiring and

supervision of Al Shamrani was governed by laws, policies, and regulations. But

they identify no mandatory law, regulation, or policy – either of the United States

or of Saudi Arabia– by which Saudi Arabia was required to abide in hiring and

supervising Al Shamrani. Cf. Andrews, 121 F.3d at 1441 (“‘Where no statute

or regulation controls the government’s monitoring of a contractor’s work, the

extent of monitoring required or actually accomplished is necessarily a question




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of judgment, or discretion, for the government.’”) (quoting Kirchmann v. United

States, 8 F.3d 1273, 1276 (8th Cir. 1993)).16

      Second, Plaintiffs err in relying (at ¶¶ 171-172) on two U.S. military

manuals that they allege required Saudi Arabia to have a country liaison officer

present: the Security Manual and the U.S. Naval Flight Student Training

Administration Manual.17 The Security Manual provides “guidance” to

“organizational entities within the [Department of Defense]” and does not impose

mandatory duties on Saudi Arabia.18 It also states (at C10.20.8) that “CLO support

and duties will be identified and stated in an agreement between the unit and

sponsoring country.” The Navy Report found (at 223) that no such “formal

agreement” existed and, if one had, it “would be nonbinding.”

      The Training Manual (at 1-1) sets out “procedures for the processing of all

students undergoing flight training in the Naval Air Training Command” and is

directed to “[c]ommanders” within that Command. Like the Security Manual,


      16
         Plaintiffs also vaguely assert that Al Shamrani violated “policies and
procedures” by purchasing a gun, Am. Compl. ¶¶ 145, 152, and traveling to New
York, id. ¶¶ 162-163. Those alleged violations were not within the scope of his
employment. See supra pp. 12-15. In any event, Plaintiffs cite no mandatory rule
prohibiting the purchase or the trip. The Navy Report found (at 53, 90) that the
purchase was “legal[] . . . under existing federal law,” and the trip was “normal.”
      17
        See Ex. E (Naval Air Training Command, CNATRAINST 1500.4H
(2014) (“Training Manual”)).
      18
       Defense Security Cooperation Agency, Authorization Letter, Security
Manual (Apr. 30, 2012), https://samm.dsca.mil/listing/authorization-letter.

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it imposed no mandatory duties on Saudi Arabia. Concerning liaison officers,

the Training Manual states (at 9-7) that, “[a]t the request of another country . . . ,

a CLO may be assigned to assist with the administrative duties for [international

military students] for his or her country” – that is, a liaison officer could be

present at Saudi Arabia’s “request” and the assignment was permitted (“may”),

not mandatory.

      Third, Plaintiffs cannot overcome immunity with formulaic assertions that

Saudi Arabia “intentionally, deliberately and recklessly breached its duty” to

screen or supervise Al Shamrani. E.g., Am. Compl. ¶ 513. The discretionary-

function limitation cannot be circumvented by allegations that the discretionary act

was undertaken with a culpable mental state. See Miller v. United States, 992 F.3d

878, 889 (9th Cir. 2021) (explaining that “the Supreme Court’s decision in Gaubert

forecloses adopting” a “carve-out” even for “intentional and bad-faith torts”);

see also 28 U.S.C. § 1605(a)(5)(A) (granting immunity “regardless of whether

the discretion be abused”).

             3.     Plaintiffs Fail To Plead Or To Prove Causation

      i.     But-for causation. When Congress creates a causation requirement,

it legislates against “traditional background principles.” Burrage v. United States,

571 U.S. 204, 214 (2014). Those principles divide causation into “two constituent

parts: actual cause and legal cause.” Id. at 210; see also U.S. Commodity Futures



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Trading Comm’n v. Southern Tr. Metals, Inc., 894 F.3d 1313, 1329 (11th Cir.

2018) (discussing the “common-law rules” for causation). Under the “traditional

understanding” of “actual causality,” certain “‘[c]onduct is the cause of a result’ if

‘it is an antecedent but for which the result in question would not have occurred.’”

Burrage, 571 U.S. at 211 (quoting Model Penal Code § 2.03(1)(a) (1985))

(brackets in Burrage); see id. (describing but-for causation as “the minimum

concept of cause”); Southern Tr. Metals, 894 F.3d at 1329 (“[P]roximate cause

necessarily encompasses cause in fact, requiring proof of ‘but-for’ causation.”).19

      Once acts and omissions outside the United States are excluded, Plaintiffs

are left only with the liaison officer’s absence. Even if they could plead around

the discretionary-function exception (which they cannot), Plaintiffs still have not

alleged facts plausibly showing that Al Shamrani’s attack would not have occurred


      19
          Some courts have read the phrase “caused by” in other FSIA exceptions
to impose a form of proximate-causation requirement that does not include but-for
causation. See Rux v. Republic of Sudan, 461 F.3d 461, 472-74 (4th Cir. 2006);
Kilburn v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1127-31
(D.C. Cir. 2004). Those cases are inconsistent with the Supreme Court’s reasoning
in Burrage that “but for ‘is the minimum concept of cause’” and that a causation
element requires but-for causation unless there is some “textual or contextual
indication to the contrary.” 571 U.S. at 211-12 (quoting United States v. Hatfield,
591 F.3d 945, 948 (7th Cir. 2010)); see also, e.g., Bostock v. Clayton Cty., 140 S.
Ct. 1731, 1739 (2020) (explaining that the phrase “‘because of’ . . . incorporates
the ‘simple’ and ‘traditional’ standard of but-for causation”) (quoting University
of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 346, 360 (2013)). They are also
contrary to the Eleventh Circuit’s teaching that proximate causation “encompasses”
but-for causation. Southern Tr. Metals, 894 F.3d at 1329. In any event, Plaintiffs
fail to show any form of causation.

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but for that absence. According to Plaintiffs, the liaison officer’s “primary purpose”

was to “help[] administer” international military students, Am. Compl. ¶¶ 169-170,

with duties like “[m]aintain[ing] contact with their students,” “[a]ssist[ing] in

routine inspections,” and “[t]ak[ing] necessary action for minor breaches of

discipline,” id. ¶ 172. Plaintiffs do not and cannot allege that liaison officers are

responsible for stopping “[i]nsider [t]hreats.” Id. ¶ 504.

      Plaintiffs also assert that Al Shamrani was in contact with Al Qaeda in 2015

and was planning an attack before he joined the RSAF. Id. ¶¶ 132-134, 341. The

FBI similarly concluded that Al Shamrani joined the RSAF in order to carry out a

so-called “special operation.” May 18, 2020 Investigative Update. Both the FBI

and the Navy found that no other Saudi or U.S. military members stationed with

Al Shamrani had pre-knowledge of the attack. Those individuals included a Royal

Saudi Naval Force (“RSNF”) liaison officer who was present “[d]uring absences of

the RSAF CLO” and “executed some duties as a joint CLO” for RSAF and RSNF,

although without a “formal agreement” to do so. Navy Report 224. Taking all

those allegations and facts into account, it is not plausible that, but for the RSAF

liaison officer’s absence, Al Shamrani’s attack would not have occurred.

      ii.    Proximate causation. The phrase “caused by” also requires what

“tort law has traditionally called ‘proximate causation.’” Jerome B. Grubart, Inc.

v. Great Lakes Dredge & Dock Co., 513 U.S. 527, 536 (1995) (construing similar


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language in the Extension of Admiralty Jurisdiction Act). Generally, proximate

cause reflects a recognition that “‘[i]njuries have countless causes’” and a refusal

“‘to trace a series of events beyond a certain point.’” Southern Tr. Metals, 894

F.3d at 1330 (quoting CSX Transp., Inc. v. McBride, 564 U.S. 685, 692-93 (2011)).

Courts apply the doctrine by “ask[ing] . . . whether the alleged violation led directly

to the plaintiff’s injuries,” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 465

(2006) (applying the Racketeer Influenced and Corrupt Organizations Act

(“RICO”)), or “‘whether and to what extent the defendant’s conduct foreseeably

and substantially caused the specific injury that actually occurred,’” O’Donnell v.

United States, 736 F. App’x 828, 833 (11th Cir. 2018) (per curiam) (quoting

McCain v. Florida Power Corp., 593 So. 2d 500, 502-03 (Fla. 1992)).

      The liaison officer’s alleged absence did not directly cause Al Shamrani’s

attack. A causal chain is not direct “where plaintiff’s injury d[oes] not ‘necessarily’

follow from defendant’s . . . acts” and the “connection” between act and injury is

“not ‘straightforward.’” Simpson v. Sanderson Farms, Inc., 744 F.3d 702, 713

(11th Cir. 2014) (applying RICO and quoting Hemi Group, LLC v. City of New

York, 559 U.S. 1, 14-15 (2010) (plurality)). The Amended Complaint suggests

only that the officer’s presence “may have ‘provided [Al Shamrani] with better

oversight and resulted in proactive intervention by [Saudi Arabia]’ prior to the




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attack.” Am. Compl. ¶ 184 (quoting Navy Report 11) (emphasis and first

alteration added). That is insufficient to plead proximate causation.

      Nor was Al Shamrani’s attack a foreseeable result of the liaison officer’s

alleged absence. “[A] criminal act generally breaks the chain of causation” because

“a person usually has no reason to foresee the criminal acts of another.” Sosa v.

Coleman, 646 F.2d 991, 993-94 (5th Cir. Unit B June 1981) (applying Florida

law). For example, Island City Flying Service v. General Electric Credit Corp.,

585 So. 2d 274 (Fla. 1991), held a worker’s employer could not have foreseen his

criminal theft of an airplane. See id. at 277. The court found it irrelevant that the

thief received a bad-conduct discharge from the military and had job performance

problems for which he had been fired twice. See id. at 275. None of those facts

made it foreseeable that the worker would commit theft.20

      Here, Plaintiffs make no well-pleaded allegations that the RSAF liaison

officer (or anyone else) had reason to foresee that Al Shamrani would commit an

attack. They assert without detail and without factual support that the liaison

officer knew of Al Shamrani’s legal firearm purchase, Am. Compl. ¶¶ 152, 156,


      20
         See also City of Green Cove Springs, 348 F.2d at 201 (city’s negligence
did not proximately cause the assault and rape of an arrestee by a police officer in
the absence of any “demonstrated propensity to sexual misconduct or otherwise”
by the officer); Watson v. City of Hialeah, 552 So. 2d 1146, 1149 (Fla. Dist. Ct.
App. 1989) (negligent hiring and retention of police officer did not proximately
cause murder where there was insufficient basis “to charge the city with knowledge
that the officers would commit murder”).

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and that other RSAF trainees knew of the firearm purchase and the impending

attack, id. ¶¶ 156, 164-165, but did not try to stop the attack “[b]ecause they

supported it,” id. ¶¶ 167-168. Conclusory allegations of what defendants “knew

or should have known” should be disregarded. See Mamani v. Berzain, 654 F.3d

1148, 1153 (11th Cir. 2011). In addition, Plaintiffs’ allegations are contrary to

admissible evidence. Following an extensive investigation, the FBI concluded

that there is “no evidence of assistance or pre-knowledge of the attack by other

members of the Saudi military.” See supra p. 7.

      Plaintiffs also err in relying (at ¶¶ 183-184) on the Navy Report’s finding

that the liaison officer’s absence was one of 14 “contributing factors” that “may

have influenced the sequence of events leading to the attack.” Navy Report 8-9.

“[C]ontributing factors” are neither but-for nor proximate causes. See Burrage,

571 U.S. at 215-16 (but-for causation does not cover “merely contribut[ing]”

factors); Anza, 547 U.S. at 460 (proximate causation covers only “direct causal”

factors). Other “contributing factors” identified by the Navy Report include:

an “[a]dverse . . . microclimate” for international students; “[h]arrasment” by

an instructor; “[p]erceived inadequacy of the resolution of [a] . . . harassment

complaint”; “[r]eported noise infractions”; and the “[d]eparture of [Al Shamrani’s]

roommate on leave in November 2019.” Navy Report 8-9. That is not a list of

proximate causes.


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      C.     Plaintiffs’ Allegations That Saudi Arabia Supported Al Qaeda
             Are Insufficiently Pleaded, Baseless, And Irrelevant

      Plaintiffs err in claiming that the non-commercial-tort exception applies

based on Saudi Arabia’s purported provision of material support to Al Qaeda.

Am. Compl. ¶ 378. We must say at the outset that Saudi Arabia categorically

denies Plaintiffs’ baseless allegation. Saudi Arabia has been repeatedly targeted

on its own soil by Al Qaeda21 and has worked hand-in-glove with the United States

in its war against Al Qaeda and other terrorist actors.22 The Amended Complaint

contains no well-pleaded allegations that Saudi Arabia materially supported Al

Qaeda. Its conclusory assertions (at, e.g., ¶ 81) that Saudi Arabia has “poured

funds and weapons into” the terrorist group deserve no weight.

      Nor is there evidence backing those assertions. Plaintiffs cite two

newspaper articles (at ¶¶ 103-106), but both are hearsay and cannot meet Plaintiffs’



      21
          Stanford Univ., Mapping Militant Organizations: Al Qaeda (describing
“[m]ajor [a]ttacks” including a 2004 attack in Khobar, Saudi Arabia),
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/al-qaeda; Stanford Univ.,
Al Qaeda in the Arabian Peninsula (describing Al Qaeda subgroup’s 2009 attempt
to assassinate Prince Mohammed bin Nayef Al Saud), https://cisac.fsi.stanford.edu/
mappingmilitants/profiles/al-qaeda-arabian-peninsula.
      22
          See, e.g., U.S. Embassy & Consulates in Saudi Arabia, Joint Statement
of the U.S.-Saudi Arabia Strategic Dialogue (Oct. 21, 2020) (“The United States
and Saudi Arabia stressed the importance of their close partnership in countering
terrorism and the Kingdom’s key role in maintaining regional and international
security, and the two countries reviewed mutual efforts to strengthen security in
Iraq.”), https://sa.usembassy.gov/joint-statement-of-the-u-s-saudi-arabia-strategic-
dialogue/.

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burden to provide “sufficient evidence” to establish an exception to sovereign

immunity. Robinson, 269 F.3d at 141. In any event, neither supports Plaintiffs’

allegations. One article is an Associated Press report describing “decisive

victories” against Al Qaeda in Yemen by “a military coalition led by Saudi Arabia

and backed by the United States,”23 but attributing them to negotiation – hardly

the “direct support” to Al Qaeda that Plaintiffs (at ¶ 104) claim. The other article

describes a “leaked email” that purportedly describes Saudi “support” for “the

Islamic State” and “other radical Sunni groups.”24 The link to the “leaked email”

leads to a cable from a U.S. Ambassador stating that individual “donors in Saudi

Arabia” (not the Saudi government) fund extremist groups and that the Saudi

government is “cooperating more actively than at any previous point to respond

to terrorist financing concerns raised by the United States, and to investigate and

detain financial facilitators of concern.”25

      Plaintiffs’ material-support theory also fails for two other, independent

reasons. First, it is based on purported conduct that occurred entirely outside



      23
         Ex. F (Maggie Michael, Trish Wilson & Lee Keath, AP Investigation:
US allies, al-Qaida battle rebels in Yemen, Assoc. Press (Aug. 6, 2018)).
      24
       Ex. G (Fareed Zakaria, How Saudi Arabia played Donald Trump,
Wash. Post (May 25, 2017)).
      25
         The cited article’s reference to the “leaked email” hyperlinks to another
that describes the contents of the cable. See Ex. H (Tim Lister, WikiLeaks cables
assess terrorism funding in Saudi Arabia, Gulf states, CNN (Dec. 6, 2010)).

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the United States. Am. Compl. ¶¶ 78-106. The entire-tort rule bars consideration

of these extraterritorial allegations. See Terrorist Attacks, 714 F.3d at 116-17

(applying entire-tort rule to allegations of “providing funding and other aid” to

Al Qaeda outside the United States).

       Second, Plaintiffs’ allegations do not support any plausible inference that

purported support for Al Qaeda in the Middle East caused Al Shamrani’s attack.

Indeed, Plaintiffs make no allegations at all connecting the two. They cannot

meet any standard of causation – but-for, proximate, or otherwise.

II.    The JASTA Terrorist-Act Exception Does Not Apply

       Plaintiffs fail to plead, and cannot prove, any basis for jurisdiction under

JASTA. Unlike the non-commercial-tort exception, JASTA does not require an

entire tort within the United States and has no discretionary-function exception.

Instead, it has other requirements. As relevant here, Plaintiffs must establish:

(1) an “act or acts” of Saudi Arabia, or of “an official, employee, or agent” of

Saudi Arabia, “acting within the scope of . . . office, employment, or agency,”

(2) that was “tortious,” and (3) that “caused” their injuries. 28 U.S.C. § 1605B(b).

JASTA excludes claims “on the basis of an omission or a tortious act or acts that

constitute mere negligence.” Id. § 1605B(d).

       Two of Plaintiffs’ theories for jurisdiction fail under JASTA for reasons

already given. JASTA provides no exception to immunity based on Plaintiffs’



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vicarious-liability theory because Al Shamrani did not commit the attack within

the scope of his employment. See supra pp. 12-15.26 And JASTA provides no

exception to immunity based on Plaintiffs’ material-support theory because

Plaintiffs proffer no well-pleaded allegations or evidence that Saudi Arabia

supported Al Qaeda and fail to show that any such support caused Al Shamrani’s

attacks. See supra pp. 28-30.

      The analysis is different for Plaintiffs’ negligent-hiring and failure-to-

supervise theories, but the result is the same. First, allegations of “mere negligence”

are insufficient under JASTA. 28 U.S.C. § 1605B(d). For a tortious act to

constitute gross negligence or recklessness, rather than “mere negligence,” the

tortfeasor must “know[]” that an injury was “imminent or ‘clear and present.’”

Bridges v. Speer, 79 So. 2d 679, 682 (Fla. 1955); see Boyce v. Pi Kappa Alpha

Holding Corp., 476 F.2d 447, 452 (5th Cir. 1973).27 Courts routinely hold that




      26
           The JASTA exception differs from the non-commercial-tort exception
in that it includes liability for the acts of “agent[s]” as well “official[s]” and
“employee[s].” Compare 28 U.S.C. § 1605(a)(5) with id. § 1605B(b). That
difference is immaterial because the Amended Complaint does not allege, or allege
any facts to show, that Al Shamrani had any agency relationship with Saudi Arabia
other than his employment as an RSAF officer.
      27
         See also Glaab v. Caudill, 236 So. 2d 180, 183 (Fla. Dist. Ct. App. 1970)
(“chargeable knowledge of awareness of the imminent danger”); Burke v. Cooke,
2005 WL 8162897, at *2 (N.D. Fla. May 5, 2005) (“aware[ness]” of “clear and
present danger”), report and recommendation adopted, 2005 WL 8162894
(N.D. Fla. May 25, 2005).

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failures to conduct background checks are ordinary negligence, not gross negligence

or recklessness. See Jackson v. County of Wayne, 217 F. App’x 103, 106-07 (3d

Cir. 2007) (“not securing sufficient background information” on foster parents was

“mere negligence”); Waubanascum v. Shawano Cty., 416 F.3d 658, 668 (7th Cir.

2005) (inadequate background checks of foster parent “at most amount[ed] to some

species of negligence”).

      Plaintiffs present no well-pleaded allegations and no competent evidence to

show that Saudi Arabia’s hiring and supervision of Al Shamrani was more than

mere negligence (if that). The Court should disregard Plaintiffs’ conclusory

allegations that Saudi Arabia “knew of Al-Shamrani’s radicalization,” e.g.,

Am. Compl. ¶¶ 114, 136, 144, 366, 423, 512(i)-(ii), (x), that Saudi Arabia

“knew” Al Shamrani “was sharing and showing mass shooting video content,”

id. ¶ 512(xiii), or that it was “aware of Al-Shamrani’s planned attack,” id. ¶ 39(b).

“‘[B]are assertions’” of what Saudi Arabia “knew or should have known” are

“‘not entitled to be assumed true.’” Mamani, 654 F.3d at 1153-54 (quoting Iqbal,

556 U.S. at 681); see id. (requiring allegations of “specific acts” indicating

knowledge).28 Plaintiffs’ assertions are also contradicted by the FBI’s finding after



      28
         Plaintiffs also allege that Saudi Arabia “knew that Al-Shamrani had a
weapon.” Am. Compl. ¶¶ 39(b), 156, 512(xii). Even if that were true, knowledge
that a military officer had a weapon does not reasonably imply knowledge that he
will commit a terrorist attack.

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extensive investigation that Saudi Arabia did not assist in and had no pre-knowledge

of Al Shamrani’s attack. See supra p. 7.

      Second, Plaintiffs’ contention that Saudi Arabia tortiously failed to prevent

the attack relies on purported omissions. JASTA precludes jurisdiction “on the

basis of an omission.” 28 U.S.C. § 1605B(d). The statutory distinction between

acts and omissions mirrors the common-law distinction between “non-feasance,

which is doing nothing,” and “misfeasance, the doing of things in a wrong and

negligent matter.” Dudley v. Community Pub. Serv. Co., 108 F.2d 119, 121

(5th Cir. 1939). Even if Plaintiffs had adequately alleged – as they have not –

that Saudi Arabia knew or should have known of Al Shamrani’s radicalization or

his planned attack, Saudi Arabia’s alleged inaction in the face of such purported

knowledge still would not support jurisdiction under § 1605B(d).

      That statutory limitation matters here because the Amended Complaint relies

extensively on alleged failures to act. It devotes an entire section to Saudi Arabia’s

alleged “failures to investigate, monitor, supervise and report Al-Shamrani,”

Am. Compl. § V.I (capitalization omitted), and another section to Saudi Arabia’s

alleged “fail[ure] to provide sufficient country liaison officer assistance,” id. § V.J

(same). In its concluding counts, paragraph 513 lists 24 supposed “[f ]ailure[s],”

and paragraph 515 lists 30. All of those allegations are irrelevant to jurisdiction

under JASTA.


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III.    The Commercial-Activity Exception Does Not Apply

        The commercial-activity exception applies where an “action is based upon”

(1) “commercial activity carried on in the United States by the foreign state,”

(2) “an act performed in the United States in connection with a commercial activity

of the foreign state elsewhere,” or (3) “an act outside the territory of the United

States in connection with a commercial activity of the foreign state elsewhere

and that act causes a direct effect in the United States.” 28 U.S.C. § 1605(a)(2).

Plaintiffs must proceed under the first prong because they allege only “commercial

activity” occurring in the United States – namely, “the training of Saudi Arabian

airmen, soldiers and sailors on United States’ military bases.” Am. Comp. ¶ 41;

see generally id. ¶¶ 40-68. They do not allege relevant commercial activity

elsewhere, as the second and third prongs require.

        The “commercial character” of activity is determined by its “nature . . .

rather than by . . . its purpose.” 28 U.S.C. § 1603(d). That is, “commercial activity”

“must be ‘the type’ of activity ‘by which a private party engages in’ trade or

commerce.” Jam v. International Fin. Corp., 139 S. Ct. 759, 772 (2019) (quoting

Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 614 (2019)) (emphasis in

Weltover); see 28 U.S.C. § 1603(d) (defining “commercial activity” as the “regular

course of commercial conduct or a particular commercial transaction or act”).

Military training that the United States offers sovereign “allies and partners,”



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Am. Compl. ¶ 46, to further its military alliances and national security interests is

not the type of activity by which a private party engages in trade or commerce and

is not “commercial activity.” See MCI Telecomms. Corp. v. Alhadhood, 82 F.3d

658, 664 (5th Cir. 1996) (concluding that military training is not “commercial

activity” under the FSIA); see also Strange v. Islamic Republic of Iran, 320 F.

Supp. 3d 92, 97 (D.D.C. 2018) (“Afghanistan does not engage in commercial

activity like a ‘private player in the market’ by accepting foreign aid from the

United States in the form of assistance in developing its armed forces.”).

      Even if a military training arrangement between sovereign allies could be

“commercial activity,” Plaintiffs’ claims would not be “based upon” that activity.

The Supreme Court has held that an action is “based upon” commercial activity

where the activity “constitutes the ‘gravamen’ of the suit.” OBB Personenverkehr

AG v. Sachs, 577 U.S. 27, 34-35 (2015); see Nelson, 507 U.S. at 356-57 (courts

must “identify[] the particular conduct on which the . . . action is ‘based’”).

Where “there is nothing wrongful” about the commercial activity “standing alone,”

OBB Personenverkehr, 577 U.S. at 35, that requirement is not met.

      Plaintiffs do not claim that the military training arrangement was wrongful.

Instead, the alleged acts and omissions “upon” which their claims are “based”

are Al Shamrani’s attack, e.g., Am. Compl. ¶¶ 345-362; Saudi Arabia’s alleged

negligent hiring and inadequate supervising of Al Shamrani, e.g., id. ¶¶ 135-186,


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502-525; and Saudi Arabia’s supposed support to Al Qaeda, e.g., id. ¶¶ 78-106.

None of those acts or omissions is commercial activity.

      First, Al Shamrani’s attack itself was not commerce or trade. See Strange,

320 F. Supp. 3d at 97-98 (concluding that, even if assistance to develop

Afghanistan’s military was “commercial activity,” a case arising from a terrorist

attack during such assistance is not “based upon an act ‘in connection with’ those

activities”) (quoting 28 U.S.C. § 1605(a)(2)). Courts have similarly rejected

commercial-activity jurisdiction in cases alleging murder, see Berkovitz v. Islamic

Republic of Iran, 735 F.2d 329, 332 (9th Cir. 1984); kidnapping, see Cicippio v.

Islamic Republic of Iran, 30 F.3d 164, 167-68 (D.C. Cir. 1994); and assassination,

see De Letelier v. Republic of Chile, 748 F.2d 790, 797 (2d Cir. 1984).

      Second, Saudi Arabia’s hiring and supervising of military service members

is not commercial activity. See UNC Lear Servs., Inc. v. Kingdom of Saudi Arabia,

581 F.3d 210, 216 (5th Cir. 2009) (holding that a contract “to provide personnel

[to RSAF] that were vital to the operation of a national air defense system” was

not commercial); see generally Kato v. Ishihara, 360 F.3d 106, 110 (2d Cir. 2004)

(“‘public or governmental and not commercial in nature, would be the employment

of diplomatic, civil service, or military personnel’”) (quoting H.R. Rep. No.

94-1487, at 16 (1976), reprinted in 1976 U.S.C.C.A.N. 6604, 6615).




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       Third, and finally, allegations of funding Al Qaeda (which are conclusory

and baseless, see supra pp. 28-30) also do not describe “commercial activity.”

See Terrorist Attacks, 538 F.3d at 92; McDonald v. The Socialist People’s Libyan

Arab Jamahiriya, 666 F. Supp. 2d 50, 52 (D.D.C. 2009) (“sponsoring terrorists”

– as opposed to “trading with them” – is not commercial activity).

IV.    The Waiver Exception Does Not Apply

       Plaintiffs fail (at ¶ 18) to show that Saudi Arabia has waived its sovereign

immunity. They can neither plead nor prove that Saudi Arabia agreed to

jurisdiction in the United States. A waiver of immunity may be made “explicitly

or by implication,” 28 U.S.C. § 1605(a)(1), but either way must be “clear and

unambiguous,” Architectural Ingenieria Siglo XXI, LLC v. Dominican Republic,

788 F.3d 1329, 1338 (11th Cir. 2015); Aquamar S.A. v. Del Monte Fresh Produce

N.A., Inc., 179 F.3d 1279, 1291-92 (11th Cir. 1999). Courts “rarely” find implicit

waiver. Aquamar, 179 F.3d at 1291 n.24. Such rare cases typically involve one of

three situations: a foreign state has (1) “‘agreed to arbitration in another country,’”

(2) “‘agreed that the law of a particular country should govern a contract,’” or

(3) “‘filed a responsive pleading in an action without raising the defense of

sovereign immunity.’” Id. (quoting H.R. Rep. No. 94-1487, at 18, reprinted in

1976 U.S.C.C.A.N. 6617).




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      Plaintiffs cannot clear that high bar. First, Plaintiffs allege that Saudi Arabia

“anticipate[d] being subject to the jurisdiction of the courts in the United States.”

Am. Compl. ¶ 589. That conclusory claim is entitled to no weight. Even if it were

taken at face value, anticipation is not waiver.

      Second, Plaintiffs point to the Foreign Military Sales Letter of Offer and

Acceptance (“LOA”) between the United States and Saudi Arabia, which contains

Standard Terms and Conditions that require Saudi Arabia “to indemnify and hold

the U.S. Government, its agents, officers, and employees harmless from any and

all loss or liability (whether in tort or in contract) which might arise in connection

with the LOA.” Id. ¶ 54; see also id. ¶¶ 586, 588; Ex. I (LOA Standard Terms and

Conditions § 3.1). That provision relates only to potential claims against the

United States by third parties.

      Because the LOA says nothing about claims that private parties may assert

against Saudi Arabia, it does not “demonstrate[]” Saudi Arabia’s “amenability to

being subjected to suit in this country.” Strange, 320 F. Supp. 3d at 98-99 (contract

provision addressing claims against United States did not waive Afghanistan’s

sovereign immunity); see also Haven v. Polska, 215 F.3d 727, 734-35 (7th Cir.

2000) (agreement to provide “lump-sum payment” to extinguish claims of U.S.

citizens did not waive immunity); Smith v. Socialist People’s Libyan Arab

Jamahiriya, 101 F.3d 239, 245-46 (2d Cir. 1996) (“A generalized undertaking


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to pay the debt of a national . . . does not imply that the guaranteeing state agrees

to be sued on such an undertaking in a United States court.”).

      Third, Plaintiffs allege that Saudi Arabia “agreed to cooperate fully in the

investigation and compensate the victims” of the Pensacola shooting and to allow

any Saudi citizens involved in the attacks to be prosecuted in the United States.

Am. Compl. ¶¶ 593-596. They assert this agreement was in an “oral contract,”

id. ¶ 597, between King Salman and President Trump. To be clear, Saudi Arabia

did indeed “g[i]ve complete and total support” to the investigation, “order[ing] all

Saudi trainees to fully cooperate.” January 13, 2020 Investigative Findings. None

was charged. That has nothing to do with immunity.

      As for the alleged promise to compensate the victims, Plaintiffs’ statement

that any such statement constituted a “waiver of immunity,” Am. Compl. ¶ 596,

is conclusory and “not entitled to the assumption of truth.” Iqbal, 556 U.S. at 679.

The only nonconclusory statement they allege is President Trump’s characterization

that Saudi Arabia “agreed to ‘tak[e] care of the families [and] help out the families

very greatly.’” Am. Compl. ¶ 596 (brackets in original). The agreement as so

characterized “‘contains no mention of a waiver of immunity to suit in United

States courts or even the availability of a cause of action in the United States.’”

S & Davis Int’l, Inc. v. Republic of Yemen, 218 F.3d 1292, 1301 (11th Cir. 2000)

(quoting Amerada Hess, 488 U.S. at 442-43). It therefore does not waive immunity.


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                                 CONCLUSION

      The Court should dismiss Plaintiffs’ Amended Complaint.

                     REQUEST FOR ORAL ARGUMENT

      Because of the complexity and importance of the issues raised by this motion,

Saudi Arabia requests oral argument under Local Rule 7.1(K). We estimate that

one hour of argument will suffice.



Dated: March 21, 2022                Respectfully submitted,

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                    LOCAL RULE 7.1(F) CERTIFICATION

       I, Benjamin H. Brodsky, hereby certify that, pursuant to Local Rule 7.1(F),

attached is a Consent Motion for Leave To Exceed Word Limit. The foregoing

Memorandum of Law in Support of Saudi Arabia’s Motion To Dismiss the

Amended Complaint contains 9,146 words, which is 1,146 words in excess of

Local Rule 7.1(F)’s 8,000-word limit. As reflected in the Consent Motion,

Plaintiffs’ counsel has stated that Plaintiffs do not oppose Saudi Arabia’s request to

file a Memorandum of Law in excess of the 8,000-word limit.

                    LOCAL RULE 5.1(F) CERTIFICATION

       I, Benjamin H. Brodsky, hereby certify that on March 21, 2022, I caused a

true and correct copy of the Motion of the Kingdom of Saudi Arabia To Dismiss

the Amended Complaint and Memorandum of Law in Support to be served via the

CM/ECF system to all parties or counsel of record that have entered appearances in

this action.

                                       Respectfully submitted,

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